            Case 1:20-cv-03885-SN Document 14 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      11/6/2020


MARCELLA T. SPINNER,

                                            Plaintiff,                 20-CV-3885 (AJN)(SN)

                          -against-                                             ORDER

RAYMOND MOREJON, et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On October 30, 2020, the Honorable Alison J. Nathan referred this matter to a magistrate

judge for all purposes based on the consent of the parties. See 28 U.S.C. § 636(c). The parties are

directed to complete the Consent to Proceed Before US Magistrate Judge form, available on the

Court’s website, and submit that form to Judge Nathan for her signature.

        A status conference is scheduled for Thursday, November 19, 2020, at 10:00 a.m., to

occur telephonically. At that time, the parties shall call the Court’s dedicated teleconference line

at (877) 402-9757, and enter Access Code 7938632, followed by the pound (#) key.

SO ORDERED.




DATED:           November 6, 2020
                 New York, New York
